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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  HOWARD MICHAEL CAPLAN,

                  Plaintiff,

                  vs.

  SERA'S LATIN CAFE LLC, a Florida
  Limited Liability Company d/b/a LEO'S
  HOUSE RESTAURANT and FNWS
  INCORPORATED, a Florida Profit
  Corporation,

            Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
  undersigned counsel, hereby files this complaint and sues SERA'S LATIN CAFE
  LLC d/b/a LEO'S HOUSE RESTAURANT (“CAFE”), and FNWS INCORPORATED,
  (“FNWS”) (hereinafter, collectively referred to as “Defendants”), for declaratory
  and injunctive relief; for discrimination based on disability; and for the
  resultant attorney's fees, expenses, and costs (including, but not limited to,
  court   costs    and   expert   fees),    pursuant   to   42   U.S.C.   §12181   et.   seq.,
  ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.      This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.




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  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Miami-Dade
  County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of
  the United States District Court for the Southern District of Florida, this is the
  designated court for this suit.


  PARTIES
  3.     Plaintiff, HOWARD MICHAEL CAPLAN, is a resident of the State of
  Florida. At the time of Plaintiff’s visit to Leo’s House (“Subject Facility”), Plaintiff
  suffered from a “qualified disability” under the ADA, which substantially limits
  Plaintiff’s major life activities, including but not limited to walking, and
  requires the use of a mobility aid. The Plaintiff personally visited Leo’s House,
  but was denied full and equal access, and full and equal enjoyment of the
  facilities, services, goods, and amenities within Leo’s House, which is the subject
  of this lawsuit. The Subject Facility is a restaurant and Plaintiff wanted to
  purchase food and beverages but was unable to due to the discriminatory
  barriers enumerated in Paragraph 15 of this Complaint.


  4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN, is an
  advocate of the rights of similarly situated disabled persons and is a “tester” for
  the purpose of asserting his civil rights and monitoring, ensuring and
  determining whether places of public accommodation are in compliance with the
  ADA.


  5.     Defendants, CAFE and FNWS are authorized to conduct business and are in
  fact conducting business within the State of Florida. The Subject Facility is
  located at 7911 W. 26th Ave., Hialeah, FL 33016. Upon information and belief, CAFE
  is the lessee and/or operator of the Real Property and therefore held accountable
  of the violations of the ADA in the Subject Facility which is the matter of this
  suit. Upon information and belief, FNWS is the owner and lessor of the Real
  Property where the Subject Facility is located and therefore held accountable for

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  the violations of the ADA in the Subject Facility which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and

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              prejudice denies people with disabilities the opportunity to compete on
              an equal basis and to pursue those opportunities for which this country
              is justifiably famous, and costs the United States billions of dollars in
              unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the    full   and   equal    enjoyment      of    the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation. Leo’s
  House is a place of public accommodation by the fact it is an establishment that
  provides goods/services to the general public, and therefore, must comply with
  the ADA. The Subject Facility is open to the public, its operations affect
  commerce, and it is a restaurant. See 42 U.S.C. Sec. 12181 (7) and 28 C.F.R.
  36.104. Therefore, the Subject Facility is a public accommodation that must
  comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Leo’s House located at 7911 W. 26th Ave., Hialeah, FL
  33016, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; and by
  failing       to    remove        architectural       barriers   pursuant     to    42     U.S.C.

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  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:

           a) The customer parking facility in front of the restaurant does not provide a

              compliant accessible parking space. 2010 ADA Standards 502.1




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           b) The parking facility does not have the minimum number of accessible parking

              spaces required. 2010 ADA Standards 208.2

           c) There are eight (8) marked standard parking spaces located in front of the

              restaurant and zero (0) non-compliant accessible parking spaces. One (1)

              compliant accessible parking space with adjacent access aisle is required. 2010

              ADA Standards 208.2

           d) The parking facility does not provide compliant directional and informational

              signage to a compliant accessible parking space. 2010 ADA Standards 216.5

           e) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2010 ADA Standards 502.2

           f) There are non-compliant ground surface areas in the parking lot that are necessary

              to traverse in order to get to the building. The running slope of walking surfaces

              must not be steeper than 1:20. The cross slope of walking surfaces must not be

              steeper than 1:48. 2010 ADA Standards 403.3.3

           g) Areas of the parking lot ground surface are gravel. Floor and ground surfaces

              must be stable, firm, and slip resistant. A stable surface is one that remains

              unchanged by contaminants or applied force, so that when the contaminant or

              force is removed, the surface returns to its original condition. A firm surface

              resists deformation by either indentations or particles moving on its surface. A

              slip-resistant surface provides sufficient frictional counterforce to the forces

              exerted in walking to permit safe ambulation. 2010 ADA Standards 302.1




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           h) There is currently no existing accessible route to help persons with disabilities

              safely maneuver through the parking facility as required in 2010 ADA Standards

              502.3

           i) There is no accessible seating at the lunch counter dining area. Where dining

              surfaces are provided for the consumption of food or drink, at least 5% of the

              dining seating spaces, counter and standing spaces at the dining surfaces must

              comply. 2010 ADA Standards 226.1, 904.4

           j) The Men’s and Women’s restroom signs are non-compliant. Tactile (braille)

              characters on signs must be located 48 inches minimum above the finish floor or

              ground surface, measured from the baseline of the lowest tactile character and 60

              inches maximum above the finish floor or ground surface, measured from the

              baseline of the highest tactile character. Where a tactile sign is provided at a door,

              the sign must be located alongside the door at the latch side. ADA Standards

              703.4.1, 703.4.2

           k) The Men’s restroom door has a non-compliant doorknob and lock. Operable parts

              must be operable with one hand and not require tight grasping, pinching, or

              twisting of the wrist. 2010 ADA Standards 309.4

           l) The restroom has a non-compliant sink cabinet. Where toe clearance is required at

              an element as part of a clear floor space, the toe clearance must extend 17 inches

              minimum under the element. Knee clearance must be 8 inches deep minimum at

              27 inches above finished floor. 2010 ADA Standards 306.2.3, 3.6.3.3

           m) The rear grab bar is missing. The rear wall grab bar must be 36 inches long

              minimum and extend from the centerline of the water closet 12 inches minimum



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               on one side and 24 inches minimum on the other side. 2010 ADA Standards

               604.5.2

           n) The side grab bar is installed to non-compliant specifications. The side wall grab

               bar must be 42 inches long minimum, located 12 inches maximum from the rear

               wall and extending 54 inches minimum from the rear wall. 2010 ADA Standards

               604.5.1

           o) The toilet paper holder is not located properly for accessible use. Toilet paper

               dispensers must be 7 inches minimum and 9 inches maximum in front of the

               water closet measured to the centerline of the dispenser. The outlet of the

               dispenser must be 15 inches minimum and 48 inches maximum above the finish

               floor and must not be located behind grab bars. 2010 ADA Standards 604.7

           p) The soap dispenser is too high. Where a high forward reach is over an obstruction,

               the clear floor space must extend beneath the element for a distance not less than

               the required reach depth over the obstruction. The high forward reach must be 48

               inches maximum where the reach depth is 20 inches maximum. 2010 ADA

               Standards 308.2.2

           q) The paper towel dispenser is too high. Where a forward reach is unobstructed, the

               high forward reach must be 48 inches maximum above the finish floor or ground.

               2010 ADA Standards 308.2.1

  16.   Upon information and belief there are other current violations of the ADA
  at Leo’s House. Only upon full inspection can all violations be identified.
  Accordingly, a complete list of violations will require an on-site inspection by
  Plaintiff’s representatives pursuant to Rule 34b of the Federal Rules of Civil
  Procedure.



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  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.   The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendants and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facility to make it accessible to and usable by individuals with

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  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.

  Dated this February 03, 2020.

  Respectfully submitted by:

  Ronald E. Stern
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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.

  HOWARD MICHAEL CAPLAN,

              Plaintiff,

              vs.

  SERA'S LATIN CAFE LLC, a Florida
  Limited Liability Company d/b/a LEO'S
  HOUSE RESTAURANT and FNWS
  INCORPORATED, a Florida Profit
  Corporation,

            Defendants.
  _______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 03, 2020, I electronically filed the
  Complaint along with a Summons for each Defendant with the Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or pro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filing generated
  by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff HOWARD MICHAEL CAPLAN




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                                 SERVICE LIST:

   HOWARD MICHAEL CAPLAN, Plaintiff, vs. SERA'S LATIN CAFE LLC, a Florida
       Limited Liability Company d/b/a LEO'S HOUSE RESTAURANT and FNWS
                      INCORPORATED, a Florida Profit Corporation

              United States District Court Southern District Of Florida

                                     CASE NO.


  SERA'S LATIN CAFE LLC d/b/a LEO'S HOUSE RESTAURANT

  REGISTERED AGENT:

  MORALES, ZENIA
  10320 SW 132 AVENUE
  MIAMI, FL 33186

  VIA PROCESS SERVER


  FNWS INCORPORATED

  REGISTERED AGENT:

  SAYERS, WILLIAM L.
  304 SAINT LUCIE ROAD
  WINTER HAVEN, FL 33884

  VIA PROCESS SERVER




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